                         UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO

In re:                                           )    Case No. 21-61491
                                                 )
SQUIRRELS RESEARCH LABS, LLC,                    )    Chapter 11
                                                 )
                                                 )
                      Debtor.                    )    Judge Russ Kendig
                                                 )
                                                 )

                  AMENDED NOTICE OF MOTION OF ENVISTA
              FORENSICS, LLC d/b/a AREPA (“ENVISTA”) FOR RELIEF
                  FROM STAY AND CERTIFICATE OF SERVICE

        Envista Forensics, LLC d/b/a AREPA (“Envista”) has filed papers with the court to
obtain relief from a stay for an order lifting the automatic stay imposed by section 362(a) of the
Bankruptcy Code for the purpose of permitting Envista to be paid from insurance reserves held
by Cincinnati Insurance.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.)

        If you do not want the court to grant the relief requested sought in the motion, or if you
want the court to consider your views on the motion, then on or before February 9, 2022, you or
your attorney must:

         1.    File a written response, explaining your position, at

               U.S. Bankruptcy Court Northern District of Ohio
               Ralph Regula Federal Building and U.S. Courthouse
               401 SW McKinley Avenue SW
               Canton, Ohio 44702

If you mail your response to the court for filing, you must mail it early enough so that the court
will receive it on or before the date stated above.

         2.    Mail a copy to:

               David M. Neuman, Esq.
               Meyers, Roman, Friedberg & Lewis
               28601 Chagrin Boulevard, Suite 600
               Cleveland, Ohio 44122




21-61491-tnap     Doc 117     FILED 01/05/22         ENTERED 01/05/22 15:27:12        Page 1 of 3
       3.    Attend the hearing scheduled to be held on February 16, 2022, at 9:30 a.m. at
the Ralph Regula Federal Building and U.S. Courthouse, 401 McKinley Avenue, SW, Canton,
Ohio 44702. The hearing may be adjourned by the court from time to time without further notice.

       If you or your attorney do not take these steps, the court may decide that you do not
oppose the relief sought in the motion and may enter an order granting that relief without further
hearing or notice.


                                                     Respectfully submitted,

                                                     /s/ David M. Neumann
                                                     David Neumann (0068747)
                                                     MEYERS, ROMAN, FRIEDBERG & LEWIS
                                                     28601 Chagrin Boulevard, Suite 600
                                                     Cleveland, Ohio 44122
                                                     (216) 831-0042       Fax: (216) 831-0542
                                                     Email: dneumann@meyersroman.com

                                                     Attorneys for Movant,
                                                     Envista Forensics, LLC d/b/a AREPA




                                                2

21-61491-tnap     Doc 117     FILED 01/05/22        ENTERED 01/05/22 15:27:12         Page 2 of 3
                            CERTIFICATE OF SERVICE


       I hereby certify that a copy of the foregoing was served this 5th day of January 2022 via
the Court’s electronic mail notice list upon the following:

   •   John C. Cannizzaro John.Cannizzaro@icemiller.com,
       lauren.prohaska@icemiller.com
   •   Christopher Paul Combest christopher.combest@quarles.com
   •   John G. Farnan jfarnan@westonhurd.com
   •   Robert E. Goff rgoff@westonhurd.com, jroberts@westonhurd.com
   •   Jeannie Kim JeKim@sheppardmullin.com, dgatmen@sheppardmullin.com
   •   Marc Merklin mmerklin@brouse.com, tpalcic@brouse.com;mmiller@brouse.com
   •   Christopher Niekamp cniekamp@bdblaw.com
   •   Paul J. Schumacher pschumacher@dmclaw.com, tgross@dmclaw.com
   •   Frederic P. Schwieg fschwieg@schwieglaw.com
   •   Frederic P. Schwieg fschwieg@schwieglaw.com
   •   United States Trustee (Registered address)@usdoj.gov
   •   Joshua Ryan Vaughan jvaughan@amer-collect.com, SAllman@AMER-
       COLLECT.COM;HouliECF@aol.com
   •   Julie K. Zurn jzurn@brouse.com, tpalcic@brouse.com
   •   Kate M. Bradley ust44 kate.m.bradley@usdoj.gov

Via regular U.S. Mail:

       Brouse McDowell
       388 South Main Street
       Suite 500
       Akron, OH 44311-4407

       Jason R. Schendel
       Sheppard, Mullin, Richter & Hampton LLP
       Four Embardadero Center
       Seventeenth Floor
       San Francisco, CA 94111

       Cincinnati Insurance
       6200 South Gilmore Road
       Fairfield, Ohio 45014


                                                    /s/ David M. Neumann
                                                    Counsel for Movant
                                                    Envista Forensics, LLC d/b/a AREPA




                                               3

21-61491-tnap    Doc 117     FILED 01/05/22        ENTERED 01/05/22 15:27:12        Page 3 of 3
